
PER CURIAM.
The appellant was convicted of murder in the first degree without recommendation of mercy. Subsequently under authori*385ty of Furman v. Georgia, 408 U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346, the Supreme Court of Florida in Anderson v. State, 267 So.2d 8 (Fla.1972) reduced appellant’s sentence from death to life imprisonment. Upon careful consideration and analysis of the record and briefs in this case, we find no reversible error. Accordingly, the conviction, as previously modified by reduction of sentence, is affirmed.
It is so ordered.
CARLTON, C. J., and ROBERTS, ERVIN, ADKINS, BOYD, McCAIN and DEKLE, JJ., concur.
